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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                           CASE NO. 4:23-CR-00101-BSM

CANDACE CHAPMAN SCOTT                                                       DEFENDANT

                                         ORDER

         Defendant Candace Chapman Scott’s unopposed motion to continue her October 30,

2023 trial [Doc. No. 34] is granted. Defense counsel states he is still receiving discovery

and will need additional time to obtain all discovery, meet with defendant, and prepare for

trial.

         Failure to grant a continuance would deny defendant reasonable time for effective

preparation, taking into account the exercise of due diligence.        Further, in that the

continuance is given upon defendant’s motion, the continuance satisfies the ends of justice

and outweighs the public’s and defendant’s interest in a speedy trial. The trial is continued

to March 25, 2024, at 9:30 a.m. in Courtroom 2D. The period of delay resulting from the

continuance is excluded pursuant to 18 U.S.C. § 3161(h)(7)(A).

         IT IS SO ORDERED this 28th day of September, 2023.



                                                  UNITED STATES DISTRICT JUDGE
